           20-01061-shl       Doc 2     Filed 03/18/20 Entered 03/18/20 13:47:28                Notice of
                                       Pre-Trial Conference Pg 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Miami Metals I, Inc. and Miami Metals II, Inc.                              Bankruptcy Case No.: 18−13359−shl

Cooperatieve Rabobank U.A., New York Branch
Brown Brothers Harriman & Co.
Bank Hapoalim B.M.
Mitsubishi International Corporation
ICBC Standard Bank PLC
Techemet Metal Trading, LLC
Woodforest National Bank
Hain Capital Investors Master Fund, Ltd.
                                                        Plaintiff(s),
−against−                                                                      Adversary Proceeding No. 20−01061−shl
Crowe LLP
                                                    Defendant(s)

           NOTICE OF PRE−TRIAL CONFERENCE FOR A REMOVED MATTER


On March 17, 2020, state court litigation that had been removed to the federal District Court was opened as an
adversary proceeding on the Bankruptcy Court's CM/ECF System. The name and number of this adversary
proceeding appear in the caption above, along with the name and number of the bankruptcy case to which the
adversary proceeding relates.


Please note that the pre−trial conference for this adversary proceeding will be held on 4/30/20 at 10:00 AM in
Courtroom Courtroom 701, One Bowling Green, New York, NY 10004−1408.



Dated: March 18, 2020                                         /s/ Vito Genna

                                                              Clerk of the Court
